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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   SYMBOLOGY INNOVATIONS LLC,

               Plaintiff,
                                                       C.A. No. 1:18-cv-00879-MEH
        v.
                                                       TRIAL BY JURY DEMANDED
   OTTER PRODUCTS, LLC‚

               Defendant.



         SYMBOLOGY INNOVATIONS LLC’S RESPONSE TO COUNTERCLAIMS

         Plaintiff and Counterdefendant Symbology Innovations, LLC (“SI”) hereby responds to

  and answers the Counterclaims (Dkt. No. 32) of Defendant and Counterclaimant Otter Products,

  LLC (“OtterBox” or “Counterclaimant”) as follows:

                                                THE PARTIES

         1.      SI admits the allegations in Paragraph 1.

         2.      SI admits the allegations in Paragraph 2.

         3.      SI admits the allegations in Paragraph 3.

         4.      SI admits that it does not sell or manufacture products. SI denies any and all

         remaining allegations in Paragraph 4.

                                       JURISDICTION AND VENUE

         5.      Paragraph 5 requires no response from SI. SI re-alleges and incorporates by

         reference the statements and allegations set forth in paragraphs 1-4 with the same force and

         effect as if fully rewritten herein.

         6.      SI admits that the counterclaims purport to arise under the patent laws of the United

         States, Title 35, United States Code and that jurisdiction of this Court is proper under 35
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        U.S.C. § 271 et seq., and 28 U.S.C. §§ 1331, 1338, and 2201–02. SI denies any and all

        remaining allegations in Paragraph 6.

        7.     SI admits the allegations in Paragraph 7.

        8.     SI admits that venue is proper this district pursuant at least 28 U.S.C. § 1400. SI

        denies any and all remaining allegations in Paragraph 8.

                                      FACTUAL BACKGROUND

        9.     SI is without knowledge or information sufficient to form a belief as to the truth of

        the allegations set forth in Paragraph 9, and therefore denies them.

        10.    SI admits that Denso Wave went on to obtain certain patents including at least

        United States Patent Nos. 5,691,527 (issued Nov. 25, 1997); 5,726,435 (issued Mar. 10,

        1998); and 7,032,823 (issued Apr. 25, 2006) (collectively, the “Selected Denso Patents”)

        and those mentioned in the QRCode.com website http://www.qrcode.com/en/patent.htm.

        SI is without knowledge or information sufficient to form a belief as to the truth of the

        remaining allegations set forth in Paragraph 10, and therefore denies them.

        11.    SI is without knowledge or information sufficient to form a belief as to the truth of

        the allegations set forth in Paragraph 11, and therefore denies them.

        12.    SI is without knowledge or information sufficient to form a belief as to the truth of

        the allegations set forth in Paragraph 12, and therefore denies them.

        13.    SI is without knowledge or information sufficient to form a belief as to the truth of

        the allegations set forth in Paragraph 13, and therefore denies them.

        14.    SI admits that the video titled “QR Codes Everywhere,” provides some details

        regarding some of the functionality of QR Codes. SI, however, is without knowledge or
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        information sufficient to form a belief as to the truth of those details and of the truth of the

        remaining allegations set forth in Paragraph 14, and therefore denies them.

        15.    SI admits that the “QR Codes Everywhere” video includes the statement in

        quotation marks reproduced in Paragraph 15. SI, however, is without knowledge or

        information sufficient to form a belief as to the truth of said statement, and therefore denies

        it.

        16.    SI admits that the “QR Codes Everywhere” video includes the statement in

        quotation marks reproduced in Paragraph 16. SI, however, is without knowledge or

        information sufficient to form a belief as to the truth of said statement, and therefore denies

        it.

        17.    SI admits that the “QR Codes Everywhere” video includes the statements in

        quotations marks reproduced in Paragraph 17. SI, however, is without knowledge or

        information sufficient to form a belief as to the truth of those statements, and therefore

        denies them. SI denies any and all remining allegations in Paragraph17.

        18.    SI admits that a video titled “QR Code Business Cards” was posted on

        YouTube.com. SI is without knowledge or information sufficient to form a belief as to the

        truth of the remaining allegations in Paragraph 18, and therefore denies them.

        19.    SI denies the allegations in Paragraph 19.

        20.    SI is without knowledge or information sufficient to form a belief as to the truth of

        the allegations set forth in Paragraph 20, and therefore denies them.

        21.    SI is without knowledge or information sufficient to form a belief as to the truth of

        the allegations set forth in Paragraph 21, and therefore denies them.
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        22.    SI is without knowledge or information sufficient to form a belief as to the truth of

        the allegations set forth in Paragraph 22, and therefore denies them.

        23.    SI admits that a video titled “Introduction to QR Codes” was posted on

        YouTube.com. SI is without knowledge or information sufficient to form a belief as to the

        truth of the remaining allegations in Paragraph 23, and therefore denies them.

        24.    SI admits that the “Introduction to QR Codes” video includes the statement in

        quotations marks reproduced in Paragraph 24. SI, however, is without knowledge or

        information sufficient to form a belief as to the truth of said statement, and therefore denies

        it.

        25.    SI admits that the “Introduction to QR Codes” video includes the statement in

        quotations marks reproduced in Paragraph 25. SI, however, is without knowledge or

        information sufficient to form a belief as to the truth of said statement, and therefore denies

        it.

        26.    SI admits that the “Introduction to QR Codes” video includes the statement in

        quotations marks reproduced in Paragraph 26. SI, however, is without knowledge or

        information sufficient to form a belief as to the truth of said statement, and therefore denies

        it.

        27.    SI is without knowledge or information sufficient to form a belief as to the truth of

        the allegations set forth in Paragraph 27, and therefore denies them.

        28.    SI admits that U.S. Patent No. 8,424,752 at 3:31-33 states “Examples of

        applications that allow scanning [of QR codes] include Neomedia’s Neo Reader,

        Microsoft’s Smart Tags, Android’s Shop Savvy, Red Laser, ScanBuy, etc.”). SI denies any

        and all remaining allegations in Paragraph 28.
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        29.     SI admits that it filed this action on April 13, 2018 accusing OtterBox of infringing

        the Patents-in-Suit. SI denies any and all remaining allegations in Paragraph 29.

                                                   COUNT I
                         DECLARATION REGARDING NON-INFRINGEMENT

        30.     Paragraph 30 requires no response from SI. SI re-alleges and incorporates by

        reference the statements and allegations set forth in paragraphs 1-29 with the same force

        and effect as if fully rewritten herein.

        31.     SI admits the allegations in Paragraph 31.

        32.     SI admits that OtterBox purports to deny infringement of the Patents-in-Suit. SI

        denies any and all remaining allegations in Paragraph 32.

        33.     SI admits the allegations in Paragraph 33.

        34.     SI admits that OtterBox, pursuant to the Federal Declaratory Judgment Act, 28

        U.S.C. §2201 et seq., purports to request a declaration from this Court finding that each of

        the Patents-in-Suit are not infringed by OtterBox or any OtterBox product, either literally

        or under the doctrine of equivalents. SI denies any and all remaining allegations in

        Paragraph 34.

                                                   COUNT II
                               DECLARATION REGARDING INVALIDITY

        35.     Paragraph 35 requires no response from SI. SI re-alleges and incorporates by

        reference the statements and allegations set forth in paragraphs 1-34 with the same force

        and effect as if fully rewritten herein.

        36.     SI denies the allegations in Paragraph 36.

        37.     SI denies the allegations in Paragraph 37.
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         38.     SI admits that OtterBox, pursuant to the Federal Declaratory Judgment Act, 28

         U.S.C. §2201 et seq., purports to request a declaration from this Court finding that each of

         the Patents-in-Suit are invalid. SI denies any and all remaining allegations in Paragraph

         38.

                                       DEMAND FOR JURY TRIAL

         39.     SI admits that OtterBox purports to demand a trial by jury. SI denies any and all

         remaining allegations in Paragraph 39.

         40.     SI admits the allegations in Paragraph 40.

         41.     SI admits the allegations in Paragraph 41.

         42.     SI denies the allegations in Paragraph 42.

                                           PRAYER FOR RELIEF

         Counterclaimant’s Prayer For Relief requires no answer. To the extent that an answer is

  required, SI denies any and all allegations in the Prayer For Relief and denies that Counterclaimant

  is entitled to any relief, including any declaration, injunction, costs, attorneys’ fees, expenses, or

  any other relief of any kind, including, without limitation, subparagraphs (A) through (G) of

  Counterclaimant’s Prayer For Relief.

                                             GENERAL DENIAL

         SI denies each and every allegation in the Counterclaims to which SI has not specifically

  responded and expressly admitted, including any allegations that may be implied by or inferred

  from the headings of the same.

                                      AFFIRMATIVE DEFENSES

                                                First Defense
                                          (Failure to State a Claim)
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         1.      The Counterclaims fail to state a claim upon which relief can be granted. The

  Counterclaims do not meet the pleading requirements set forth in the Federal Rules of Civil

  Procedure as explained by the U.S. Supreme Court in Bell Atlantic Corp. v. Twombly, 550 U.S.

  544, 555 (2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009). Specifically, the Counterclaims fail

  to properly allege non-infringement of the Asserted Patents as well as invalidity under the

  provisions of Title 35, United States Code.



                                           Second Defense
                               (No Exceptional Case or Attorney’s Fees)

         2.      Counterclaimant cannot meet the requirements for an exceptional case or an award

  of attorney’s fees pursuant to 35 U.S.C. § 285.

                                            Third Defense
                                (Reservation of all affirmative defenses)

         3.      SI reserves the right to assert additional affirmative defenses and other defenses

  permitted under the Federal Rules of Civil Procedure, the patent laws of the United States, and/or

  at law or in equity, as they may now exist, be discovered, or otherwise become available based on

  discovery and further investigation in this case.

                                      PRAYER FOR RELIEF

         The Counterclaims should be dismissed, and the relief SI prays for in the Complaint should

  be granted.

   Dated: July 18, 2018                               Respectfully Submitted,

                                                      By: /s/Eugenio J. Torres-Oyola
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